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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


  JAZZ PHARMACEUTICALS, INC.,

                  Plaintiff,
                                                       C.A. No. 21-691-MN
                           v.

  AVADEL CNS PHARMACEUTICALS, LLC,

                  Defendant.


                                REQUEST FOR ORAL ARGUMENT

        Pursuant to D. Del. L.R. 7.1.4, and to the extent the Court would find oral argument helpful,

Defendant Avadel CNS Pharmaceuticals, LLC respectfully requests that oral argument be heard

on its Renewed Motion for Judgment on the Pleadings in conjunction with the August 31, 2022

Markman hearing, or as soon thereafter as the Court’s schedule will accommodate. Briefing on

the motion is complete (D.I. Nos. 117, 118, 124, 126; see also, D.I. Nos. 119-121).


 Dated: July 21, 2022                              MCCARTER &ENGLISH, LLP

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